     Case 2:06-cr-00075-MHT-CSC   Document 57-2               Filed 07/03/2008                       Page 1 of 1




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